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12
                               UNITED STATES DISTRICT COURT
13
            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
14
   U.S. WECHAT USERS ALLIANCE,                         Case No. 3:20-cv-05910-LB
15 CHIHUO INC., BRENT COULTER,
   FANGYI DUAN, JINNENG BAO,                           JOINT STATUS REPORT;
16 ELAINE PENG, and XIAO ZHANG,                        PROPOSED ORDER
                  Plaintiffs,                          Judge: Hon. Laurel Beeler
17
          v.                                           Trial Date: None Set
18
   JOSEPH R. BIDEN, JR., in his official
19 capacity as President of the United States,
   and GINA RAIMONDO, in her official
20 capacity  as Secretary of Commerce,
21                 Defendants.

22
23          1.     The parties respectfully submit this joint status report pursuant to the Court’s

24 February 12, 2021 stipulated Order staying proceedings in this case, ECF No. 151.
25          2.     The Department of Commerce is in the process of completing a

26 comprehensive review of the Secretary’s prohibitions regarding the WeChat mobile
27 application at issue in this case. Although the Department has made significant progress in
28 its review of the prohibitions and the underlying record, some additional steps remain to be

                                                   1                          Case No. 3:20-cv-05910-LB
                                 JOINT STATUS REPORT; PROPOSED ORDER
 1 completed. In particular, new and incoming leadership at the Department of Commerce
 2 and other interested agencies need additional time to consider potential options, including
 3 whether the prohibitions should be revised or withdrawn. Revision or withdrawal of the
 4 prohibitions would likely affect the issues presented, and may eliminate the need for this
 5 Court’s review entirely. The agency thus requires additional time to review the
 6 prohibitions and the underlying administrative record in light of the multiple legal issues
 7 presented, to consult with all interested federal agencies and offices, and to determine the
 8 appropriate course going forward
 9         3.     Previously, the Government filed a motion to hold in abeyance the pending
10 appeal before the Ninth Circuit of the preliminary injunction previously entered by this
11 Court. See U.S. WeChat Users Alliance v. Biden, et al., No. 20-16908, Dkt. No. 78 (9th
12 Cir. Feb. 11, 2021). That motion was unopposed by Plaintiffs, and the Ninth Circuit
13 granted it. Based on the facts set forth above, the Government intends to request that the
14 appeal continues to be held in abeyance.
15         4.     The parties agree that it likewise makes sense to continue to stay further
16 proceedings before this Court based on the above developments. Accordingly, the parties
17 jointly propose that this matter continue to be stayed and that the Court vacate the April
18 22, 2021 case management conference. The parties instead propose to file a further joint
19 status report due in 60 days, i.e., on June 11, 2021. A proposed order is attached.
20 DATED: April 12, 2021                   Respectfully submitted,
21
                                           ROSEN BIEN GALVAN & GRUNFELD LLP
22
                                           By: /s/ Michael W. Bien
23
                                               Michael W. Bien
24
                                           Attorneys for Plaintiffs
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                                                  2                        Case No. 3:20-cv-05910-LB
                               JOINT STATUS REPORT; PROPOSED ORDER
 1                                          Respectfully submitted,
 2                                          MICHAEL D. GRANSTON
                                            Deputy Assistant Attorney General
 3
                                            ALEXANDER K. HAAS
 4                                          Branch Director
 5
                                            DANIEL SCHWEI
 6                                          Special Counsel

 7
                                            By: /s/ Serena M. Orloff
 8
                                                Serena M. Orloff
 9                                              Michael Drezner
                                                Amy Powell
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16                                          Attorneys for Defendants
17
18
19         Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that I have on file approvals

20 for any signatures indicated by a “conformed” signature (/s/) within this e-filed document.
21 DATED: April 12, 2021
22                                          By: /s/ Serena M. Orloff
                                                Serena M. Orloff
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                                                  3                        Case No. 3:20-cv-05910-LB
                               JOINT STATUS REPORT; PROPOSED ORDER
 1                                   [PROPOSED] ORDER
 2         In light of the above Joint Status Report, and good cause appearing therefor,
 3         IT IS HEREBY ORDERED that further proceedings in this matter continue to be
 4 STAYED and the case management conference previously scheduled for April 22, 2021 is
 5 hereby VACATED.
 6         IT IS FURTHER ORDERED that the parties shall file a joint status report in 60
 7 days, i.e., on June 11, 2021, regarding this matter and any additional developments.
 8 To avoid losing track of the case, the court resets the case-management conference to June 17,
   2021 at 11:00 a.m.
 9        IT IS SO ORDERED.
10
            April 12
11 DATED: ____________, 2021
                                              Honorable Laurel Beeler
12                                            United States Magistrate Judge
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                                                 4                        Case No. 3:20-cv-05910-LB
                              JOINT STATUS REPORT; PROPOSED ORDER
